UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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In re Application ofAPR Energy Holdings : m_. .E:_._j ~_- E~H “-t ~_“é . ‘ ..,..;r
Lirnited for Judicial Assistance in Obtaining : Docket §~Io,:;-' §.:- " _= 3
Evidence in this District for Use in a Foreign : *'*"' is n w
and lnternational Proceeding Pursuant to 28 :
U.S.C. § 1?82 :

x

[proposed] ORDER GRANTING APPLICATION FOR JUDICIAL
ASSISTANCE IN OBTAINING EVIDENCE IN THIS DISTRICT FOR USE IN A
FOREIGN AND INTERNATIONAL PROCEEDING PURSUANT TO 28 U.S.C. 8 1782

This matter comes before the Court on the ex parte Application of APR Energy Holdings
Lirnited (“APR”), for Judicial Assistance in Obtaining Evidence in this District for Use in a
Foreign and lnternational Proceeding Pursuant to 28 U.S.C. § 1782 (the “Application”), Which
seeks documents from Australia and New Zealand Banl<ing Group Limited (“ANZ Bank”) in
connection With an arbitration proceeding initiated by APR and its affiliate entities1 against the
Comrnonwealth of Australia (“Australia”) pursuant to the Arbitration Rules of the United
Nations Comrnission on International Trade Law (2013) and the Australia-United States Free
Trade Agreernent (“AUSFTA”) arising out of Australia’s alleged violations of the AUSFTA,

The Court, having fully considered the papers on tile and submitted herewith, and good
cause appearing, it is hereby ordered that:

l. The Application is GRANTED.

2. Applicant is hereby granted leave to issue a subpoena for documents in

substantially the Same form attached as Exhibit B to the Application (the “Subpoena”)J directing

ANZ Bank to produce the documents requested in the Subpoena to Applicant at the offices of

 

l Power Rental Asset Co Two, LLC (“Asset Co”) and Power Renta] Op Co AustraliaJ LLC (“Op Co”).

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counsel for Applicant, 200 South Biscayne Boulevard, Suite 4100, Miami, Florida 33131, or at
the ANZ Bank office at 277 Park Avenue, 31st Floor, New York, New York 10172.

3. ANZ Bank shall respond to the Subpoena within thirty (30) days of service of the
Subpoena and as required under the Federal Rules of Civil Procedure and the Local Rules of the
United States District Court of the Southern Distriet of New York.

4. Until further order by this Court, ANZ Banl< shall preserve all documents and
evidence, electronic or otherwise, in its possession, custody, or control that contain information
potentially relevant to the subject matter of Applicant’s document requests as listed in the
Subpoena Any evidence produced by ANZ Bank in response to the Subpoena shall not be filed
With this Court absent leave of Court.

5. Applicant is further authorized to serve additional subpoenas for documents
and/or depositions, fifteen days after filing a Notice of Intent to Serve Subpoena and absent any
unresolved objection thereto, on ANZ Bank, and/or any other person residing or found within the
Southem District of New York likely to have relevant evidence to be used in the foreign and
international proceeding

oRDERED this 22 day orApai, 2017.

WM@W

UNITED STATES DISTRICT .TUDGE

EXHIBIT B

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ln re Application of APR Energy Holdings
Lirnited for Judicial Assistance in : Docl<et No.:
Obtaining Evidence in this District for Use
in a Foreign and International Proceeding
Pursuant to 28 U.S.C. § 1782

SUBPOENA DUCES TECUM

To: Australia and New Zealand Banking Group Limited
277 Park Avenue, 3 lst Floor
Nevv Yorl<, New York 10172

§ Production.' YOU ARE COMMANDED to produce at the time, date, and place set forth
below the following documents, electronically stored information, or objects, and to permit inspection,
copying, testing, or sampling of the material set forth in Schedule l, “Attachrnent to Subpoena.”

 

 

PLACE: DATE AND TIME:
Shutts & Bowen LLP May ___, 2017

200 South Biscayne Boulevard, Suite 4100 Miami, Florida 33131 at 10:00 a.m.

OR See Schedule A below
Australia and New Zealand Banl<ing Group Limited

277 Park Avenue, 315t Floor, New York, Nevv York 10172

 

 

 

i:| jaspectr'r)n of Premises: YOU ARE COMMANDED to permit entry onto the designated
premises, land, or other property possessed or controlled by you at the time, date, and location set forth
below, _so that the requesting party may inspect, measure, suiyey, photograph, test, or sample the
property or any designated object or operation on it.

 

PREMISES: DATE AND Tll\/IE

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached f Rule 45(0), relating to the place
of compliance; Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule
45(e) and (g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date:

 

Peter H. Levitt
Attorneyfor APR Energy Holdings Lz`mited

The name, address, e-mail address, and telephone number of the attorney representing APR

Energy Holdings Limited are:

Peter H. Levitt

Sl-IUTTS & BOWEN LLP

200 South Biscayne Boulevard, Suite 4100
Miami, Florida 33131

Tel. (305) 415-9447

Fax: (305) 415-9847

plevitt@shutts.com

 

 

 

 

 

 

 

 

PROOF OF SERVICE
SERVED DATE PLACE
SERVED ON (PRINT NAME) MANNER OF SERVICE
SERVED BY (PRlNT NAME) TITLE
DECLARATION OF SERVER

 

I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in the Proof of Service is true and correct

Executed on

 

DATE

 

SIGNATURE OF SERVER

 

ADDRESS OF SERVER

 

Federal Rule of Civil Procedure 45 (c), (d)1 (e). and (g) (Effective 12/'1!13)

(c) Place of Compliance.

(1) For a Trr'al, Hearr'ng, or Deposition. A sub oena may command a
person to attend a trial, hearing, or deposition on y as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s ofticer; or
(ii) is commanded to attend a trial and would not incur substantial
expense

(2) For Orher Discavery. A subpoena may command:

(A) production of documents, electronicall stored information, or
tangible things at a place within 100 miles ofw ore the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1} Avofdz`ng Undue Burden or Expense; Sancrions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable ste s
to avoid imposing undue burden or expense on a person subject to e
subpoena 'l`he court for the district where compliance is required must
enforce this duty and impose an appropriate sanction_whjch may include
lost earnings and reasonable attorney’s fees-_on a party or attorney who
fails to comply.

(2) Command to Produce Mererials ar Permit Inspection.

(A) Appearance Not Reqm'red. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,

caring, or trial.

(B) Objecri`ons. A person commanded to reduce documents or tangible
thin s or to permit inspection may serve on t e party or attorney designated
in t e subpoena a written objection to inspectingl copying, _testing, or
samcpling any or all of the materials or to inspecting the rernises_or to
pro ucing electronically stored information in e form or orms requested
Thc objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. lf an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded erson, the serving party
may move the court for the district where comp iance is required for an
order compelling production or inspection

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance

(3) Quashz`ng or Modifying a Subpoena
(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:
(i) fails to allow a reasonable time to comply;
(ii) requires a person to comply beyond the geographical limits
specified in Rule 45{c);
(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or
(iv) subjects a person to undue burden
(B) When Permirred. To rotect a person subject to or affected by a
subpoena the court for the istrict where compliance is required may, on
motion, quash or modify the subpoena if it requires:
(i) disclosing a trade secret or other confidential research,
development or commercial inforination; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expeit’s
study that was not requested by a party.

(C) Specr'j_‘j)r'n Condr'n`ons as an Alternative. ln the circumstances
described in Ru e 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions ifthc serving party:

(i} shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated

(e) Duties in Responding to a Subpoena.

(l) Producr'ng Documents ar Electram`cnlly Si'ored Informatian. These
procedures apply to producing documean or electronically stored
information:

(A) Documenrs. A person respondin to a subpoena to produce documents
must produce them as they are kept in t e ordinary course of business or
must organize and label them to correspond to the categories in the demand

(B) Formfor Producr‘ng Eleczrom'cally .S'rored Informon'on Nor Speci'{ied.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronr`colly Srored Informan`on Proo’uceci' in On!y One Farm. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Ii:accessible Electrom`call'y Stored Infor'man'on. The person
responding need not provide discovery of electronically stored information
from sources that the person identities as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. lf that showing is
made, the court may nonetheless order discovery from such sources if the
re uesting party shows good cause, considering the limitations of Rule
ZGEib)(Z)(C). The court may specify conditions for the discoveryl

(2.) C[aiming Privilege or Prr)tection.

(A) Informan`on Withhelo'. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Inj?irmorion Produced. If` information produced in response to a
subpoena is subject to a claim of privilege or of protection as
tria preparation material, the person making the claim ma notify any arty
that received the information of the claim and the basis or it. Aiter eing
notified, a party must promptly retum, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
protiluc¢:jd the information must preserve the information until the claim is
reso ve .

(g) Contempt.

The court for the district where compliance is re uired_and also, after a
motion is transferred, the issuing court_rnay ho[ld in conteni ta person

who, having been served, fails without adequate excuse to obey the subpoena
or an order related to it.

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Commi`ttee Note (2013)

SCHEDULE A - DOCUMENTS REOUESTED

DEFINITIONS

A. As used herein, the singular of any Word or phrase includes the plural and the
plural includes the singular.

B. “Company” means Australia and New Zealand Banlring Group Limited (“ANZ
Banl<”).

C. “Document” means any printed, written, typed, recorded or computer-stored text
or data and includes, without limitation, all letters, electronic mail, faxes, memoranda, reports,
studies, analyses, appraisals, foi‘ecasts, valuations, summaries, accounting records, financial
i‘ecords, banking records, loan payment records, loan documents, security documentsJ
agreements, contracts, leases, deeds, transcripts, minutes, spreadsheets, data files, and all other
materials Within the scope of Federal Rule of Civil Procedure 34(a)(1)(A).

D. “Entity” means any corporation, company, partnership, business, limited liability
company, trust, or entity of any kind

E. “ANZ Banl<” means Australia and New Zealand Banking Group Limited and
includes any predecessors, successors, officers, directors, agents, servants, and employees or
anyone acting for it or on its behalf

F. Unless otherwise indicated, the requests herein refer to the time period starting on
March 1, 2013 through and including March 31, 2014.

DOCUMENTS REQUESTED

1. ANZ Bank’s complete loan file or files relating to any and all credit facilities or
loans issued by or in favor of Forge from March l, 2013 to the present

2. All loan agreements, security agreements, promissory notes, security instruments,
registration statements and other loan and security documents between ANZ Bank
and Forge Group Power Pty Ltd or any of the Forge Group Cornpanies (“Forge”).

3. All Documents evidencing or reflecting communications between ANZ Bank and
Forge during the period from March 1, 2013 through and including March 31,
2014 relating to or concerning Forge’s financial condition and/or its ability to
repay any loan facility

4_ All Documents evidencing or reflecting any communications between ANZ Bank
and Forge concerning ANZ Bank’s acquisition of a security interest in any of the
assets of Forge or the granting to ANZ Bank by Forge of any registrationsl

5. All Documents evidencing or reflecting any studies, valuations, or analyses
performed by ANZ Bank or obtained by ANZ Bank during the period from March
l, 2013 through and including December 31, 2013 concerning Forge’s financial

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condition, solvency, the value of its assets, the extent of its liabilities or its ability
to repay any loan facility made available by ANZ Bank.

All Documents evidencing any investigations or searches made by ANZ Bank at
any time during the year 2013 concerning registrations recorded or obtained by
others in respect of any assets of Forge.

All Documents evidencing any communications by ANZ Bank or on ANZ
Bank’s behalf with any party concerning or relating to four Tl\/l 2500+ gas turbine
generator sets and associated equipment (the "Turbines") provided to Forge by
General Electric International, lnc. (“GEI”).

All Documents provided to ANZ Bank by Forge concerning or relating to the
Turbines or any agreement entered into by Forge With GEI for the delivery or
lease of the Turbines.

All Documents evidencing or reflecting any information provided to ANZ Bank
by Forge, or otherwise obtained by ANZ Banl<, concerning the shipment or
delivery of the Turbines to Forge.

All Documents evidencing or reflecting any information provided to ANZ Bank
by Forge or otherwise obtained by ANZ Bank, at any time in 2013, concerning
the status of construction and/or operations at the Horizon Power Facility located
in South Hedland, New South Wales, Australia.

All Documents evidencing or reflecting any statement made to ANZ Bank by
Forge concerning the Turbines provided by GEI.

All Documents prepared by ANZ Bank or received by ANZ Bank during the time
period from March l, 2013 through January 31, 2014 discussing or referring to
the possibility of Forge taking any of the following actions: (a) dissolution, (b)
winding up, (c) insolvency administration, (d) receivership, (e) liquidation, (f)
reorganization, (g) financial restructuringj (h) bankruptcy proceeding

All Documents evidencing, reflecting or referring to any discussions concerning
the timing of any of the following actions: (a) appointment of administrators, (b)
appointment of receivers, (c) appointment of liquidators, (d) voluntary
administration, (e) receivership, (f) liquidation

All audit reports, financial reviews, review statements, financial analyses, and
asset valuations concerning Forge that were created or received by ANZ Bank
during 2013.

All memorandums, notes, minutes, summaries or agendas in respect of any
meeting ANZ Bank participated in with any representative of Forge in the second
half of 201 3 at which Forge’s financial condition was discussed

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All Documents reflecting or evidencing any communications between ANZ Bank
and Kordal\/lentha Pty Ltd, Scott Langdon, Mark Mentha and/or any officer or
employee or other representative of Korda Mentha Pty Ltd (“KM”) concerning
the Power Generation Facility.

All Documents reflecting or evidencing any communications between ANZ Bank
and KM concerning the failure of any creditor of Forge or any provider of
equipment or other materials to Forge or of any lessor to Forge or lender to Forge
to record a registration as authorized by the Personal Property Securities Act.

All Documents evidencing or reflecting any communications or discussions
between ANZ Bank and Forge regarding ANZ Bank’s ability to assert a lien on
the Power Generation Facility or Forge’s ability to retain the Power Generation
Facility, in insolvency, as its own asset

All Documents evidencing or reflecting any contract between Forge and GEI for
the rental of or use of the Power Generation Facility.

All Documents evidencing or reflecting any communications between ANZ Bank
and GEI regarding the Power Generation Facility.

All Documents evidencing or reflecting any valuation of the Power Generation
Facility prepared by or for ANZ. Bank, Forge or KM at any time in 2013 or 2014.

All Documents evidencing or reflecting any communication or discussion
concerning the interest of any of the following parties in the Power Generation
Facility: (a) General Electric Company, (b) GEI, (c) APR Energy Holdings
Limited, and (d) any affiliate of APR Energy Holdings Limited.

Any analyses, reviews, studies or reports prepared by or for ANZ Bank, or
obtained by ANZ Bank, concerning assets in possession of Forge that became
subject to ANZ Bank’s security interest as a result of the non»recording by the
counter-party to Forge of a registration statement

All reports, studies, analyses, audits, field exams and reviews prepared by or for
ANZ Bank or the Receivers dated in the period from March l, 2013 through
December 31, 2013 concerning Forge or affiliates

All financial analyses of Forge or any of the Forge Group Companies prepared by
or for ANZ Bank during the period from March l, 2013 through December 31,
2013.

All documents evidencing, reflecting, discussing or referring to the Power
Generation Facility that were sent or received by ANZ Bank (or any person acting
for ANZ Ban_l<) during the period from March l, 2013 through December 31,
2013.

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All documents reflecting, evidencing or constituting any communication between
the Receivers and Forge concerning the commencement of a voluntary
administration or the appointment of Receivers or Managers.

All documents evidencing the contractual relationship between ANZ Bank and
the Receivers including any engagement agreements, retention agreements, terms,
deeds or directions

All documents reflecting, evidencing or constituting any communication between
ANZ Bank (or any party acting for or on behalf of ANZ Bank) and Forge relating
to the Rental Agreement.

